             Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                 Entered 07/11/19 00:03:15                                 Page 1 of 73


 Fill in this information to identify your case:

 Debtor 1
                     Darren Scott Matloff
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Texas District of __________
                                                                                                (State)
 Case number           19-32039-7
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 16,362.53
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 16,362.53
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 65,134,461.74
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 65,134,461.74
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 13,907.62
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 9,055.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
             Case 19-32039-sgj7 Doc 15 Filed 07/11/19                               Entered 07/11/19 00:03:15                         Page 2 of 73
                  Darren Scott Matloff                                                                                    19-32039-7
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                  $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
Fill in this Case    19-32039-sgj7
             information                   Doc
                         to identify your case   15
                                               and    Filed
                                                   this filing: 07/11/19                      Entered 07/11/19 00:03:15          Page 3 of 73

Debtor 1
                   Darren Scott Matloff
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Northern District of Texas District of __________
                                                                                    (State)
Case number           19-32039-7
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    ✔    No. Go to Part 2.
        Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property:
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                         $________________ $_________________
                                                                     Investment property
                                                                                                                   Describe the nature of your ownership
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only                                    Check if this is community property
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




                                                                                                                                                 page 1 of ___
                                                                                                                                                            10
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                   Entered 07/11/19 00:03:15                     Page 4 of 73



1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  0.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   ✔     No
        Yes

            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.1.

            Model: ____________________________                  
                                                                 ✔ Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
              Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                       Entered 07/11/19 00:03:15                                    Page 5 of 73




                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      0.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                                 Entered 07/11/19 00:03:15                                           Page 6 of 73



Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Household goods and furnishings (no single item worth more than $500.00), Bicycle, snowboards
    No
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      2,000.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     Consumer household electronics (tv, computer, etc) (no single item worth more than $500)
   
   ✔ Yes. Describe. ........                                                                                                                                                                          1,500.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Mens clothing
   
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       Watch
   
   ✔    Yes. Describe. .........                                                                                                                                                                      200.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        4,200.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __
              Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                                                   Entered 07/11/19 00:03:15                                         Page 7 of 73



Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Chase Bank Checking Account xxxx5135                                                 1,734.03
                                                 ___________________________________________________________________________________ $__________________
                                                 Chase Bank Checking Account xxx6232                                                  88.50
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
    No
   
   ✔ Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                     20.00
   Rooftop Group USA, Inc. - 2000 shares
  _____________________________________________________________________________________________________                                                                                       100
                                                                                                                                                                                              ___________%
   Eastern Design Group USA, LLC (closed)                                                                                                                                                     100                   $__________________
                                                                                                                                                                                                                     0.00
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
                                                                                                                                                                                                                                    5 of __
                                                                                                                                                                                                                               page ___
                Case 19-32039-sgj7 Doc 15 Filed 07/11/19                              Entered 07/11/19 00:03:15                Page 8 of 73


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔ No

    Yes. List each
         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

        No
    
    ✔    Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               Deposit on Seattle office space - paid for Rooftop Group USA, Legend Point Marina and Condominiums
                           ____________________________________________________________________________________________________        $___________________
                                                                                                                                         5,320.00
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
                                                                                                                                                    6 of __
                                                                                                                                       $__________________
                                                                                                                                               page ___
             Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                            Entered 07/11/19 00:03:15                     Page 9 of 73



24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
      No                                                      Rooftop Group USA - unpaid commissions
   
   ✔   Yes. Give specific information. ...............
                                                                                                                                                          Unknown
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
                                                                                                                                                                 page ___ of __
             Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                                  Entered 07/11/19 00:03:15                                           Page 10 of 73



31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔    No
       Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
       No                                              Potential Beneficiary of The Matloff Family Trust (Trustee has discretion to
   
   ✔    Yes. Describe each claim. ..................... remove/change beneficiaries), Counterclaim against Triumphant Gold Limited for
                                                        usury                                                                                                                                         Unknown
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list
                                                                    Paul Choquette - corporate attorney - bill paid from Debtor's personal account by
       No
                                                                    accident
   
   ✔    Yes. Give specific information. ...........                                                                                                                                                   5,000.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       12,162.53
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
             Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                                  Entered 07/11/19 00:03:15                                           Page 11 of 73



40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                                     Entered 07/11/19 00:03:15                                             Page 12 of 73


48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    0.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               4,200.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           12,162.53
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             16,362.53
                                                                                                                     $________________ Copy personal property total                                              16,362.53
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       16,362.53
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
            Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                       Entered 07/11/19 00:03:15                       Page 13 of 73

 Fill in this information to identify your case:

                     Darren Scott Matloff
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Texas District of __________
                                                                                       (State)
 Case number
  (If known)
                      19-32039-7
                     ___________________________________________                                                                                     Check if this is an
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                            4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C. § 522(b)(3)
     
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                           exemption you claim

                                                              Copy the value from                       Check only one box
                                                              Schedule A/B                              for each exemption
                 Bicycle, snowboards (Stored Within 1 Year)                                                                            11 USC § 522(d)(3)
 Brief
 description:
                                                                      500.00
                                                                     $________________              500.00
                                                                                                 ✔ $ ____________

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:      6
              Household goods - Household goods and                                                                                    11 USC § 522(d)(3)
 Brief        furnishings (no single item worth more than
 description: $500.00)
                                                                       1,500.00
                                                                     $________________            $ ____________
                                                                                                  ✔  1,500.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:       6
              Electronics - Consumer household electronics (tv,                                                                        11 USC § 522(d)(3)
 Brief        computer, etc) (no single item worth more than
 description: $500)
                                                                       1,500.00
                                                                     $________________              1,500.00
                                                                                                 ✔ $ ____________

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                            2
                                                                                                                                                            page 1 of __
            Case 19-32039-sgj7 Doc 15 Filed 07/11/19                             Entered 07/11/19 00:03:15                         Page 14 of 73
Debtor         Darren Scott Matloff
              _______________________________________________________                                                   19-32039-7
                                                                                                 Case number (if known)_____________________________________
                First Name       Middle Name       Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                              Amount of the                       Specific laws that allow exemption
                                                                  Current value of the      exemption you claim
         on Schedule A/B that lists this property                 portion you own
                                                                 Copy the value from       Check only one box
                                                                  Schedule A/B              for each exemption
               Clothing - Mens clothing                                                                                          11 USC § 522(d)(3)
Brief
description:
                                                                    500.00
                                                                   $________________           500.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         11
               Jewelry - Watch                                                                                                   11 USC § 522(d)(4)
Brief
description:                                                       $________________
                                                                    200.00                  
                                                                                            ✔ $ ____________
                                                                                                200.00
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:        12
               Chase Bank Checking Account xxxx5135 (Checking)                                                                   11 U.S.C. § 522 (d)(5)
Brief
description:                                                       $________________
                                                                    1,734.03                
                                                                                            ✔ $ ____________
                                                                                                1,734.03
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:        17.1
               Chase Bank Checking Account xxx6232 (Checking)                                                                    11 U.S.C. § 522 (d)(5)
Brief
description:
                                                                    88.50
                                                                   $________________           88.50
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         17.2
               Rooftop Group USA, Inc. - 2000 shares                                                                             11 USC § 522(d)(5)
Brief
description:
                                                                    20.00
                                                                   $________________           20.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:          19
               Rooftop Group USA - unpaid commissions (owed to                                                                   11 U.S.C. § 522 (d)(5)
Brief
description:
               debtor)                                              Unknown
                                                                   $________________           10,752.47
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:        30
             Potential Beneficiary of The Matloff Family Trust (Trustee                                                          11 USC § 522(d)(5)
Brief        has discretion to remove/change beneficiaries) (owed to
description: debtor)
                                                                         Unknown
                                                                        $________________      0.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:           34

Brief
description:                                                       $________________         $ ____________
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                       $________________         $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________         $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________         $ ____________
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                       $________________         $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:


 Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     2   2
                                                                                                                                                  page ___ of __
                Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                             Entered 07/11/19 00:03:15                  Page 15 of 73

 Fill in this information to identify your case:

                     Darren Scott Matloff
 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Texas District of __________
                                                                                           (State)
 Case number         ___________________________________________
                      19-32039-7
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      
      ✔      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Pa rt 1 :        List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________               As of the date you file, the claim is: Check all that apply.

      ______________________________________
                                                               Contingent
      City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                               Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
2.2                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________                   Contingent
      City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                                 0.00
                                                                                                                           $_________________


   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                             Entered 07/11/19 00:03:15                     Page 16 of 73
Debtor 1
              Darren Scott Matloff
               _______________________________________________________                                                 19-32039-7
                                                                                                Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
                   Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                       Entered 07/11/19 00:03:15                      Page 17 of 73
  Fill in this information to identify your case:

                           Darren Scott Matloff
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              Northern District of Texas District of __________
                                                                                             (State)
      Case number         ___________________________________________
                            19-32039-7
                                                                                                                                                         Check if this is an
      (If known)                                                                                                                                            amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                         12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.

          Yes.
 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim    Priority     Nonpriority
                                                                                                                                                       amount       amount
2.1
                                                                        Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
                                                                        When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                 State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                 Debtor 1 only                                         Type of PRIORITY unsecured claim:
                 Debtor 2 only                                            Domestic support obligations
                 Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                 No
                 Yes
2.2
                                                                        Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                   Contingent
            ____________________________________________                   Unliquidated
            City                                State    ZIP Code
                                                                           Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                        Type of PRIORITY unsecured claim:
                  Debtor 2 only                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only                              Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                  No
                  Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
                                                                                                                                                                        24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                        Entered 07/11/19    00:03:15             Page 18 of 73
                                                                                                                        19-32039-7
                                                                                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Allpak Container                                                                                                                                    Total claim
4.1
                                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                        17,324.52
                                                                                                                                                            $__________________
         Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           ____________
          1100 SW 27th Street
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Renton                              WA       98057
         _____________________________________________________________                 Contingent
         City                                             State          ZIP Code
                                                                                    
                                                                                    ✔   Unliquidated
         Who incurred the debt? Check one.                                          
                                                                                    ✔   Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                             Student loans
         
         ✔      At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                    
                                                                                    ✔   Other. Specify Suppliers and Vendors

         
         ✔      No
               Yes
4.2
         Andre Joseph Hoffman                                                       Last 4 digits of account number                                          1,000,000.00
                                                                                                                                                            $__________________
         _____________________________________________________________              When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         L'Occitane (Far East) Ltd
         _____________________________________________________________
         Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         Times Square 38/F, Tower Two, 1 Matheson St
         _______________________________________________________________________
          Causeway Bay                                Hong Kong
                                                                                       Contingent
         _____________________________________________________________              
                                                                                    ✔   Unliquidated
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                          
                                                                                    ✔   Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       Student loans
               Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
         
         ✔      At least one of the debtors and another                                 that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Trade debt
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Applaud Media
4.3
                                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                       10,478.00
                                                                                                                                                            $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         32 Vicarage Drive
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Beckenham, United Kingdom                    B3 1Jw
         _____________________________________________________________                 Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                             Unliquidated

               Debtor 1 only
                                                                                       Disputed

               Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                             Student loans
         
         ✔      At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                            
                                                                                    ✔   Other. Specify Trade debt

         
         ✔ No

               Yes


      Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                        2 of ___
                                                                                                                                                                             24
 Debtor 1
               Case  19-32039-sgj7
                  Darren Scott Matloff    Doc 15 Filed 07/11/19
                 _______________________________________________________
                                                                                        Entered 07/11/19    00:03:15             Page 19 of 73
                                                                                                                        19-32039-7
                                                                                                 Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.4     Asian Express Holdings Ltd
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            4,135,000.00
                                                                                                                                                            $__________________
        Room 1702, Sino Center                                                      When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street
        582-592 Nathan Rd
       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Mongkok, Kowloon
       _____________________________________________________________
                                                                        Hong Kong
       City                                              State          ZIP Code       Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
              Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
       
       ✔       At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Atkis Capital Advisory Ltd                                                  Last 4 digits of account number                                          3,902,896.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        27th Floor Tesbury Centre
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       28 Queens Rd East
       _______________________________________________________________________
       Wan Chai                                     Hong Kong                          Contingent
       _____________________________________________________________
       City                                              State          ZIP Code       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
              Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

       
       ✔       At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     BTW Global Logistics                                                        Last 4 digits of account number
        _____________________________________________________________                                                                                        176,176.62
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        12 Commerce Dr
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Shelton                             CT       06484
        _____________________________________________________________                  Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

              Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
       
       ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify
       
       ✔       No
              Yes


   Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                        3 of ___
                                                                                                                                                                             24
 Debtor 1
               Case  19-32039-sgj7
                  Darren Scott Matloff    Doc 15 Filed 07/11/19
                 _______________________________________________________
                                                                                        Entered 07/11/19    00:03:15             Page 20 of 73
                                                                                                                        19-32039-7
                                                                                                 Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.7     Bay Cities Container Corp
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            217,390.08
                                                                                                                                                            $__________________
        5138 Industry Ave                                                           When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Pico Rivera                                      CA
       _____________________________________________________________
                                                                        90660
       City                                              State          ZIP Code       Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
              Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
       
       ✔       At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Bazaar Voice                                                                Last 4 digits of account number                                          10,233.60
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        10901 South Stonelake Blvd
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Austin                              TX       78759                              Contingent
       _____________________________________________________________
       City                                              State          ZIP Code       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
              Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

       
       ✔       At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Begaline Ltd                                                                Last 4 digits of account number
        _____________________________________________________________                                                                                        7,000,000.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        Vanterpool Plaza 2nd floor
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wickams Cay 1
        _____________________________________________________________                  Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

              Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
       
       ✔       Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify
       
       ✔       No
              Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                        4 of ___
                                                                                                                                                                             24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 21 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.10 Brian Dlugash/Tetro Ltd
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            1,000,000.00
                                                                                                                                                             $__________________
         4b, 12 Shipyard Lane                                                        When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Quarry Bay
        _____________________________________________________________
                                                                         Hong Kong
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 CPA Global                                                                      Last 4 digits of account number                                          7,550.01
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         Liberation House, Castle Street
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        St. Helier Jersey
        _______________________________________________________________________
        Channel Islands JE1 1BL                                                         Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

        
        ✔       At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Carl England                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                        81,282.26
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         107 Lower Village Rd
         _____________________________________________________________
         Number             Street
         Ascot SL5 9BQ                                                               As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         ENGLAND
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                         5 of ___
                                                                                                                                                                              24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                                  Entered 07/11/19    00:03:15             Page 22 of 73
                                                                                                                                  19-32039-7
                                                                                                           Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                        Total claim
4.13 Chait Thian Chew
        _____________________________________________________________                         Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                     2,400,000.00
                                                                                                                                                                      $__________________
         Portcullis Trustnet Chambers                                                         When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         PO Box 3444
        _______________________________________________________________________
                                                                                              As of the date you file, the claim is: Check all that apply.
         Road Town, Tortola
        _____________________________________________________________
                                                                         British Virgin Islands
        City                                              State           ZIP Code               Contingent
                                                                                                 Unliquidated
        Who incurred the debt? Check one.
                                                                                                 Disputed
               Debtor 1 only
                                                                                              Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                                 Student loans
        
        ✔       Debtor 1 and Debtor 2 only
                                                                                                 Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                           that you did not report as priority claims

               Check if this claim is for a community debt                                      Debts to pension or profit-sharing plans, and other similar debts
                                                                                              
                                                                                              ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 Disney Consumer Products Inc. (USA)                                                      Last 4 digits of account number                                          7,311,610.80
                                                                                                                                                                      $__________________
        _____________________________________________________________                         When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         80 Raffles Place, #26-04
        _____________________________________________________________
        Number              Street
                                                                                              As of the date you file, the claim is: Check all that apply.
        UOB Plaza 1
        _______________________________________________________________________
        Singapore                                    048624                                      Contingent
        _____________________________________________________________
        City                                              State           ZIP Code               Unliquidated
        Who incurred the debt? Check one.                                                        Disputed
               Debtor 1 only
                                                                                              Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                                 Student loans

        
        ✔       At least one of the debtors and another
                                                                                                 Obligations arising out of a separation agreement or divorce
                                                                                                  that you did not report as priority claims
               Check if this claim is for a community debt                                      Debts to pension or profit-sharing plans, and other similar debts
                                                                                              
                                                                                              ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Duane Morris LLP                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                                 77,473.41
                                                                                                                                                                      $_________________
         Nonpriority Creditor’s Name                                                          When was the debt incurred?           ____________
         1540 Broadway
         _____________________________________________________________
         Number             Street
                                                                                              As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         New York                            NY       10036
         _____________________________________________________________                           Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                       Unliquidated

               Debtor 1 only
                                                                                                 Disputed

               Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                       Student loans
        
        ✔       At least one of the debtors and another                                          Obligations arising out of a separation agreement or divorce
                                                                                                  that you did not report as priority claims
               Check if this claim is for a community debt                                      Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                       
                                                                                              ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                              page __
                                                                                                                                                                                  6 of ___
                                                                                                                                                                                       24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                           Entered 07/11/19    00:03:15             Page 23 of 73
                                                                                                                           19-32039-7
                                                                                                    Case number (if known)_____________________________________
                      First Name       Middle Name             Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.16 Echo Global Logistics
        _____________________________________________________________                  Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                              82,486.05
                                                                                                                                                               $__________________
         600 West Chicago Ave, Suite 725                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
         Chicago                                          IL
        _____________________________________________________________
                                                                           60654
        City                                              State            ZIP Code       Contingent
                                                                                          Unliquidated
        Who incurred the debt? Check one.
                                                                                          Disputed
               Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                          Student loans
               Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                    that you did not report as priority claims

               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Eigler Law Hong Kong                                                              Last 4 digits of account number                                          2,592.74
                                                                                                                                                               $__________________
        _____________________________________________________________                  When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         Bldg A, 12 F, No 25-2, SEC 4
        _____________________________________________________________
        Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        REN AI RD
        _______________________________________________________________________
        Taipei Taiwan                                10685                                Contingent
        _____________________________________________________________
        City                                              State            ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                                 Disputed
               Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                          Student loans

        
        ✔       At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Evergreen Shipping                                                            Last 4 digits of account number
         _____________________________________________________________                                                                                          18,920.00
                                                                                                                                                               $_________________
         Nonpriority Creditor’s Name                                                   When was the debt incurred?           ____________
         Tollway Plaza 1
         _____________________________________________________________
         Number             Street
         16000 North Dallas Pkwy                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dallas                              TX       75248
         _____________________________________________________________                    Contingent
         City                                             State             ZIP Code
         Who incurred the debt? Check one.                                                Unliquidated

               Debtor 1 only
                                                                                          Disputed

               Debtor 2 only                                                          Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                Student loans
        
        ✔       At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                
                                                                                       ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                           7 of ___
                                                                                                                                                                                24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                        Entered 07/11/19    00:03:15             Page 24 of 73
                                                                                                                        19-32039-7
                                                                                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.19 FedEx (Hong Kong) Ltd
        _____________________________________________________________               Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                           202,889.91
                                                                                                                                                            $__________________
         PO Box 669, General Post OFfice                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Hong Kong
        _____________________________________________________________
        City                                              State          ZIP Code      Contingent
                                                                                       Unliquidated
        Who incurred the debt? Check one.
                                                                                       Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       Student loans
               Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                 that you did not report as priority claims

               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 Frederickson & Byron PA                                                        Last 4 digits of account number                                          20,242.00
                                                                                                                                                            $__________________
        _____________________________________________________________               When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         200 South 6th St, #400
        _____________________________________________________________
        Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Minneapolis                         MN       55402                             Contingent
        _____________________________________________________________
        City                                              State          ZIP Code      Unliquidated
        Who incurred the debt? Check one.                                              Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                       Student loans

        
        ✔       At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     GTT Communications                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                       4,309.90
                                                                                                                                                            $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         7900 Tyson One Place, Suite 1450
         _____________________________________________________________
         Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         McLean                              VA       22102
         _____________________________________________________________                 Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                             Unliquidated

               Debtor 1 only
                                                                                       Disputed

               Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                             Student loans
        
        ✔       At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                             
                                                                                    ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                        8 of ___
                                                                                                                                                                             24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 25 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.22 Gregor Steinborn
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            222,787.00
                                                                                                                                                             $__________________
         Unternehmensbertung                                                         When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         Monkesweg 50A
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Meerbursch Germany
        _____________________________________________________________
                                                                         40670
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.23 Hicks & Thomas LLP                                                              Last 4 digits of account number                                          4,000.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         700 Louisiana, Suite 2000
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Houston                             TX       77002                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Legal services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.24     Jack Bishop                                                                 Last 4 digits of account number
         _____________________________________________________________                                                                                        9,533.46
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         6 Hallfields Lane, Rothley
         _____________________________________________________________
         Number             Street
         Leicester                                                                   As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         United Kingdom                               LE7 7NF
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                         9 of ___
                                                                                                                                                                              24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 26 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.25 James Truter
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            29,872.00
                                                                                                                                                             $__________________
         Regents House, 42 Islington High                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         London
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         United Kingdom
        _____________________________________________________________
                                                                         N1 8XL
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.26 Jpmcb Card                                                                      Last 4 digits of account number       ****                               50,439.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                           2014
        Nonpriority Creditor’s Name
         Po Box 15298
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19850                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.27     Jpmcb Card                                                                  Last 4 digits of account number       ****
         _____________________________________________________________                                                                                        38,217.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           2011
                                                                                                                           ____________
         Po Box 15298
         _____________________________________________________________
         Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Wilmington                          DE       19850
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                         10 of ___
                                                                                                                                                                               24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 27 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.28 Knobbe Martens
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            150,000.00
                                                                                                                                                             $__________________
         2040 Main St, 14th floor                                                    When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Irvine                                           CA
        _____________________________________________________________
                                                                         92614
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.29 Lee Waite                                                                       Last 4 digits of account number                                          18,314.52
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         8 Cliff Road
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Leigh on Sea
        _______________________________________________________________________
        Essex United Kingdom                         SS9 1HJ                            Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

        
        ✔       At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.30     Low Cut Limited                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                        100,000.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         48 Rustington Rd
         _____________________________________________________________
         Number             Street
         Brighton, East Sussex                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         United Kingdom                               BN1 8DQ
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                         11 of ___
                                                                                                                                                                               24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                        Entered 07/11/19    00:03:15             Page 28 of 73
                                                                                                                        19-32039-7
                                                                                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.31 Market Making Ltd
        _____________________________________________________________               Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                           32,202.22
                                                                                                                                                            $__________________
         10 Chiswell St                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         London, United Kingdom
        _____________________________________________________________
                                                                         EC1 4UQ
        City                                              State          ZIP Code      Contingent
                                                                                       Unliquidated
        Who incurred the debt? Check one.
                                                                                       Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       Student loans
               Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                 that you did not report as priority claims

               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.32 North American Freight                                                         Last 4 digits of account number                                          13,742.28
                                                                                                                                                            $__________________
        _____________________________________________________________               When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         556 Byrne Dr #20
        _____________________________________________________________
        Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Barrie ON CANADA                             L4N 9P6                           Contingent
        _____________________________________________________________
        City                                              State          ZIP Code      Unliquidated
        Who incurred the debt? Check one.                                              Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                       Student loans

        
        ✔       At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.33     Pica Australia                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                       656,195.57
                                                                                                                                                            $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         11/37 Keilor Park Dr
         _____________________________________________________________
         Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Keilor Park VIC AUSTRALIA                    3042
         _____________________________________________________________                 Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                             Unliquidated

               Debtor 1 only
                                                                                       Disputed

               Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                             Student loans
        
        ✔       At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                             
                                                                                    ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                        12 of ___
                                                                                                                                                                              24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 29 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.34 Pirkey Barber PLLC
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            3,300.00
                                                                                                                                                             $__________________
         600 Congress Ave, Ste 2120                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Austin                                           TX
        _____________________________________________________________
                                                                         78701
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.35 Plug & Play                                                                     Last 4 digits of account number                                          13,000.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         WEWORK South Bank Central
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        30 Stamford S
        _______________________________________________________________________
        London United Kingdom                        SE1 9LQ                            Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

        
        ✔       At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.36     Polar Ventures Overseas Limited                                             Last 4 digits of account number
         _____________________________________________________________                                                                                        7,482,242.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         Portcullis Trustnet Chambers
         _____________________________________________________________
         Number             Street
         PO Box 3444                                                                 As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Road Town, Tortola                           British Virgin Islands Contingent
         _____________________________________________________________
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                         13 of ___
                                                                                                                                                                               24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 30 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.37 RVLNT Distribution AB
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            105,000.00
                                                                                                                                                             $__________________
         Bolshendens Undustrigag 35                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Billdal Sweden
        _____________________________________________________________
                                                                         427 50
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.38 Raffles PAC                                                                     Last 4 digits of account number                                          8,600.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         4 Leng Kee Road
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        06-06 SIS Building
        _______________________________________________________________________
        SINGAPORE                                    159088                             Contingent
        _____________________________________________________________
        City                                              State           ZIP Code      Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

        
        ✔       At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.39     Regus Management Singapore                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        1,828.01
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         Level 19 & 20
         _____________________________________________________________
         Number             Street
         One Raffles Place Tower 2                                                   As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         SINGAPORE                                    159088
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                         14 of ___
                                                                                                                                                                               24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 31 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.40 Republic Services
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            4,809.66
                                                                                                                                                             $__________________
         PO Box 820                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Del Valle                                        TX
        _____________________________________________________________
                                                                         78617
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.41 Rooks Rider Solicitors                                                          Last 4 digits of account number                                          683.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         Challoner House
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        19 Clerkenwell Close
        _______________________________________________________________________
        London United Kingdom                        EC1 0RR                            Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

        
        ✔       At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.42     SH Landes LLP Accountants                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                        3,963.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         3rd floor, Fairgate House
         _____________________________________________________________
         Number             Street
         78 New Oxford St                                                            As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         London United Kingdom                        WC1A 1HB
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                         15 of ___
                                                                                                                                                                               24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                        Entered 07/11/19    00:03:15             Page 32 of 73
                                                                                                                        19-32039-7
                                                                                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.43 Sanjeev Tuli
        _____________________________________________________________               Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                           42,500.00
                                                                                                                                                            $__________________
         1 Queen's Road Central                                                     When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Hong Kong
        _____________________________________________________________
        City                                              State          ZIP Code      Contingent
                                                                                       Unliquidated
        Who incurred the debt? Check one.
                                                                                       Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       Student loans
               Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                 that you did not report as priority claims

               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.44 Senbang Shipping/Zen Bond                                                      Last 4 digits of account number                                          100,500.00
                                                                                                                                                            $__________________
        _____________________________________________________________               When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         Unit 6-7 Global Trade Center
        _____________________________________________________________
        Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        15 Wingkin
        _______________________________________________________________________
        Kwiachung Hong Kong                                                            Contingent
        _____________________________________________________________
        City                                              State          ZIP Code      Unliquidated
        Who incurred the debt? Check one.                                              Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                       Student loans

        
        ✔       At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.45     Shulian Sui                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                       743,000.00
                                                                                                                                                            $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         1-202 Building 5
         _____________________________________________________________
         Number             Street
         No. 17, Xicui Road                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Haidian District, Beijing PRC
         _____________________________________________________________                 Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                             Unliquidated

               Debtor 1 only
                                                                                       Disputed

               Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                             Student loans
        
        ✔       At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                             
                                                                                    ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                        16 of ___
                                                                                                                                                                              24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                        Entered 07/11/19    00:03:15             Page 33 of 73
                                                                                                                        19-32039-7
                                                                                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.46 Shulian Sui
        _____________________________________________________________               Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                           1,932,000.00
                                                                                                                                                            $__________________
         1-202 Building 5                                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         No. 17, Xicui Road
        _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Haidian District, Beijing PRC
        _____________________________________________________________
        City                                              State          ZIP Code      Contingent
                                                                                       Unliquidated
        Who incurred the debt? Check one.
                                                                                       Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       Student loans
               Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                 that you did not report as priority claims

               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.47 Solutions 2 Go                                                                 Last 4 digits of account number                                          25,590.00
                                                                                                                                                            $__________________
        _____________________________________________________________               When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         15 Production Rd
        _____________________________________________________________
        Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Brampton ON CANADA                           L6T 4N8                           Contingent
        _____________________________________________________________
        City                                              State          ZIP Code      Unliquidated
        Who incurred the debt? Check one.                                              Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                       Student loans

        
        ✔       At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.48     Staff Force                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                       3,506.16
                                                                                                                                                            $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         4631 Airport Blvd, Suite 131
         _____________________________________________________________
         Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         San Antonio                         TX       78216
         _____________________________________________________________                 Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                             Unliquidated

               Debtor 1 only
                                                                                       Disputed

               Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                             Student loans
        
        ✔       At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                             
                                                                                    ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                        17 of ___
                                                                                                                                                                              24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                        Entered 07/11/19    00:03:15             Page 34 of 73
                                                                                                                        19-32039-7
                                                                                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.49 Stephen Nelson
        _____________________________________________________________               Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                           750,000.00
                                                                                                                                                            $__________________
         Flat 7b                                                                    When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         93 Repulse Bay Road
        _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Hong Kong
        _____________________________________________________________
        City                                              State          ZIP Code      Contingent
                                                                                       Unliquidated
        Who incurred the debt? Check one.
                                                                                       Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       Student loans
               Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                 that you did not report as priority claims

               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.50 Suisuhai                                                                       Last 4 digits of account number                                          238,000.00
                                                                                                                                                            $__________________
        _____________________________________________________________               When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1-2-1904 Dayaotiancheng
        _____________________________________________________________
        Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        Shanda Road
        _______________________________________________________________________
        Jinan City, Shandong Province PRC                                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code      Unliquidated
        Who incurred the debt? Check one.                                              Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                       Student loans

        
        ✔       At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.51     Superconductor Tech                                                        Last 4 digits of account number
         _____________________________________________________________                                                                                       4,000.00
                                                                                                                                                            $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         9101 Wall Street, ST 1300
         _____________________________________________________________
         Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Austin                              TX       78754
         _____________________________________________________________                 Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                             Unliquidated

               Debtor 1 only
                                                                                       Disputed

               Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                             Student loans
        
        ✔       At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                             
                                                                                    ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                        18 of ___
                                                                                                                                                                              24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 35 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.52 Swerve Public Relations
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            8,500.00
                                                                                                                                                             $__________________
         920 Brant St, Unit 5                                                        When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Burlington ON
        _____________________________________________________________
                                                                         L7R 4J1
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.53 Telecom Self Reported                                                           Last 4 digits of account number       0643                               76.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         Po Box 4500
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Allen                               TX       75013                              Contingent
        _____________________________________________________________
        City                                              State           ZIP Code      Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.54     Telepacific Communications                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        6,045.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         515 Flower St
         _____________________________________________________________
         Number             Street
         45th floor                                                                  As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Los Angeles                         CA       90071
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                         19 of ___
                                                                                                                                                                               24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 36 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.55 The Garrahan Group
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            77,183.35
                                                                                                                                                             $__________________
         114 Sheldon St                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         El Segundo                                       CA
        _____________________________________________________________
                                                                         90245
        City                                              State          ZIP Code       Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.56 To Epps                                                                         Last 4 digits of account number                                          1,898.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1075 Andrew Drive I
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        West Chester                        PA       19380                              Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

        
        ✔       At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.57     Total Express                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        115,000.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         3220 Caravelle Dr
         _____________________________________________________________
         Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Mississauga ON CANADA                        L4V 1K9
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                         20 of ___
                                                                                                                                                                               24
 Debtor 1
                Case  19-32039-sgj7
                   Darren Scott Matloff    Doc 15 Filed 07/11/19
                  _______________________________________________________
                                                                                         Entered 07/11/19    00:03:15             Page 37 of 73
                                                                                                                         19-32039-7
                                                                                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.58 Triumphant Gold Ltd.
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            4,427,209.82
                                                                                                                                                             $__________________
         Offshore Incorporations (Cayman) Limited                                    When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         Floor 4, Willow House Cricket Square PO Box 2804
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Grand Cayman, Cayman Islands
        _____________________________________________________________
                                                                         KY1-1112
        City                                              State          ZIP Code       Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                     
                                                                                     ✔   Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
        
        ✔       At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.59 UOC SPV1 Pte Ltd                                                                Last 4 digits of account number                                          20,000,000.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         80 Raffles Place
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        #26-04 UOB Plaza 1
        _______________________________________________________________________
        Singapore                                                                       Contingent
        _____________________________________________________________
        City                                              State          ZIP Code       Unliquidated
        Who incurred the debt? Check one.                                               Disputed
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

        
        ✔       At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.60     UPS                                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                        30,638.79
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         55 Glenlake Parkway NE
         _____________________________________________________________
         Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Atlanta                             GA       30328
         _____________________________________________________________                  Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

               Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
        
        ✔       At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                         21 of ___
                                                                                                                                                                               24
Debtor 1
             Case  19-32039-sgj7
                Darren Scott Matloff    Doc 15 Filed 07/11/19
               _______________________________________________________
                                                                                      Entered 07/11/19    00:03:15             Page 38 of 73
                                                                                                                      19-32039-7
                                                                                               Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.61 Utility Self Reported                                                                                              95D7
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           152.00
                                                                                                                                                          $__________________
       Po Box 4500                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Allen                                           TX
      _____________________________________________________________
                                                                      75013
      City                                             State          ZIP Code       Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.62 Vw Credit                                                                    Last 4 digits of account number       5421                               1,078.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
                                                                                                                        2015
      Nonpriority Creditor’s Name
       2333 Waukegan Rd
      _____________________________________________________________
      Number             Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Deerfield                           IL       60015                             Contingent
      _____________________________________________________________
      City                                             State          ZIP Code       Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes

                                                                                  Last 4 digits of account number
      _____________________________________________________________                                                                                       $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________

      _____________________________________________________________
      Number             Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

      _____________________________________________________________                  Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                              Unliquidated

            Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                Other. Specify
            No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                      22 of ___
                                                                                                                                                                            24
Debtor 1
            Case  19-32039-sgj7
               Darren Scott Matloff    Doc 15 Filed 07/11/19
              _______________________________________________________
                                                                                    Entered 07/11/19    00:03:15             Page 39 of 73
                                                                                                                    19-32039-7
                                                                                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Katharine Battaia Clark                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      Hedrick Kring PLLC                                                        4.58 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                             
                                                                                                        ✔ Part 2: Creditors with Nonpriority Unsecured Claims
      1700 Pacific Ave #4650
     _____________________________________________________
                                                                           Last 4 digits of account number
      Dallas                                TX   75201
     _____________________________________________________
     City                                   State               ZIP Code

      Matthew Davis                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      LOCKE LORD LLP                                                             4.14 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                             
                                                                                                        ✔ Part 2: Creditors with Nonpriority Unsecured
      2200 Ross Avenue, Suite 2800
     _____________________________________________________
                                                                           Claims

      Dallas                          TX         75201
     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                 Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                           Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
                                                                                                                                                         23 of ___
                                                                                                                                                                24
Debtor 1
            Case  19-32039-sgj7
               Darren Scott Matloff    Doc 15 Filed 07/11/19
              _______________________________________________________
                                                                               Entered 07/11/19    00:03:15             Page 40 of 73
                                                                                                               19-32039-7
                                                                                        Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :    Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                         0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                           0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                65,134,461.74


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                 65,134,461.74
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                   page __
                                                                                                                                               24 of ___
                                                                                                                                                      24
            Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                Entered 07/11/19 00:03:15                   Page 41 of 73

 Fill in this information to identify your case:

                       Darren Scott Matloff
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        Northern District of Texas District of ________
                                                                                 (State)
 Case number            19-32039-7
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                State what the contract or lease is for


2.1                                                                                        Apartment lease in Houston
       {ADD}
      _____________________________________________________________________
      Name                                                                                 Lessee

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
            Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                             Entered 07/11/19 00:03:15           Page 42 of 73
 Fill in this information to identify your case:

                     Darren Scott Matloff
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         Northern District of Texas District of ________
                                                                                              (State)
 Case number              19-32039-7
                        ____________________________________________
  (If known)
                                                                                                                                                 Check if this is an
                                                                                                                                                   amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      ✔    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
      
      ✔    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           ✔       No
                  Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:
3.1       Rooftop Group International Pte Ltd
         ________________________________________________________________________________                        Schedule D, line ______
         Name
          5218 Spruce St                                                                                      
                                                                                                              ✔                      4.29
                                                                                                                  Schedule E/F, line ______
         ________________________________________________________________________________
          Street                                                                                                 Schedule G, line ______
          Bellaire                                 TX                       77401
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.2       Rooftop Group International Pte Ltd
         ________________________________________________________________________________                        Schedule D, line ______
         Name
         5218 Spruce St
         ________________________________________________________________________________
                                                                                                              
                                                                                                              ✔                      4.49
                                                                                                                  Schedule E/F, line ______
          Street                                                                                                 Schedule G, line ______
          Bellaire                                 TX                       77401
         ________________________________________________________________________________
         City                                                          State                       ZIP Code

3.3       Rooftop Group International Pte Ltd
         ________________________________________________________________________________                        Schedule D, line ______
         Name
          5218 Spruce St                                                                                      
                                                                                                              ✔                       4.43
                                                                                                                  Schedule E/F, line ______
         ________________________________________________________________________________
          Street                                                                                                 Schedule G, line ______
          Bellaire                                 TX                       77401
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                       8
                                                                                                                                                     page 1 of ___
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                       Entered 07/11/19 00:03:15                 Page 43 of 73
                  Darren Scott Matloff
Debtor 1         _______________________________________________________                   Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                 Addit iona l Pa ge t o List M ore Code bt ors

       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:
3._
  4
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.25
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  5     Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.24
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  6     Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.60
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
         Bellaire                                 TX                       77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  7     Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.59
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  8
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.57
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  9     Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.56
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  10    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.55
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  11
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.54
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code




 Official Form 106H                                           Schedule H: Your Codebtors                                              page ___  8
                                                                                                                                           2 of ___
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                       Entered 07/11/19 00:03:15                 Page 44 of 73
                  Darren Scott Matloff
Debtor 1         _______________________________________________________                   Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                 Addit iona l Pa ge t o List M ore Code bt ors

       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:
3._
  12
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.52
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  13    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.51
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  14    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.50
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
         Bellaire                                 TX                       77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  15    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.48
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  16
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.47
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  17    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.45
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  18    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.46
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  19
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.42
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code




 Official Form 106H                                           Schedule H: Your Codebtors                                              page ___  8
                                                                                                                                           3 of ___
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                       Entered 07/11/19 00:03:15                 Page 45 of 73
                  Darren Scott Matloff
Debtor 1         _______________________________________________________                   Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                 Addit iona l Pa ge t o List M ore Code bt ors

       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:
3._
  20
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.44
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  21    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.37
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  22    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.41
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
         Bellaire                                 TX                       77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  23    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.40
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  24
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.39
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  25    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.38
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  26    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.36
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  27
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.35
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code




 Official Form 106H                                           Schedule H: Your Codebtors                                              page ___  8
                                                                                                                                           4 of ___
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                       Entered 07/11/19 00:03:15                 Page 46 of 73
                  Darren Scott Matloff
Debtor 1         _______________________________________________________                   Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                 Addit iona l Pa ge t o List M ore Code bt ors

       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:
3._
  28
        Rooftop Group USA, Inc
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.58
                                                                                                     Schedule E/F, line ______
        75 Vine St. Unit 805
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Seattle                                        WA                      98121
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  29    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.58
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  30    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.34
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
         Bellaire                                 TX                       77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  31    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.33
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  32
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.32
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  33    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.31
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  34    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.30
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  35
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.28
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code




 Official Form 106H                                           Schedule H: Your Codebtors                                              page ___  8
                                                                                                                                           5 of ___
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                       Entered 07/11/19 00:03:15                 Page 47 of 73
                  Darren Scott Matloff
Debtor 1         _______________________________________________________                   Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                 Addit iona l Pa ge t o List M ore Code bt ors

       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:
3._
  36
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.21
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  37    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.22
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  38    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.20
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
         Bellaire                                 TX                       77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  39    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.19
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  40
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.18
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  41    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.17
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  42    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.16
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  43
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.15
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code




 Official Form 106H                                           Schedule H: Your Codebtors                                              page ___  8
                                                                                                                                           6 of ___
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                       Entered 07/11/19 00:03:15                 Page 48 of 73
                  Darren Scott Matloff
Debtor 1         _______________________________________________________                   Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                 Addit iona l Pa ge t o List M ore Code bt ors

       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:
3._
  44
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.14
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  45    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.11
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  46    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.13
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
         Bellaire                                 TX                       77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  47    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.12
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  48
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.6
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  49    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.10
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  50    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.9
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  51
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.8
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code




 Official Form 106H                                           Schedule H: Your Codebtors                                              page ___  8
                                                                                                                                           7 of ___
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                       Entered 07/11/19 00:03:15                 Page 49 of 73
                  Darren Scott Matloff
Debtor 1         _______________________________________________________                   Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                 Addit iona l Pa ge t o List M ore Code bt ors

       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:
3._
  52
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.7
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  53    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.5
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  54    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.4
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
         Bellaire                                 TX                       77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  55    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                      4.3
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
  56
        Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.2
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
  57    Rooftop Group International Pte Ltd
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                 
                                                                                                 ✔                       4.1
                                                                                                     Schedule E/F, line ______
        5218 Spruce St
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______
        Bellaire                                       TX                      77401
        ________________________________________________________________________________
        City                                          State                   ZIP Code

3._
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                    Schedule E/F, line ______
        ________________________________________________________________________________
        Street                                                                                      Schedule G, line ______

        ________________________________________________________________________________
        City                                          State                   ZIP Code
3._
        ________________________________________________________________________________            Schedule D, line ______
        Name
                                                                                                    Schedule E/F, line ______
        ________________________________________________________________________________
        Street
                                                                                                    Schedule G, line ______

        ________________________________________________________________________________
        City                                          State                   ZIP Code




  Official Form 106H                                          Schedule H: Your Codebtors                                              page ___  8
                                                                                                                                           8 of ___
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                           Entered 07/11/19 00:03:15                    Page 50 of 73

 Fill in this information to identify your case:

                      Darren Scott Matloff
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of Texas District
                                                                                   tate)
 Case number            19-32039-7
                     ___________________________________________                                       Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
Official Form 106I                                                                                        MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                            Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                          ✔ Employed
    information about additional         Employment status                                                                Employed
    employers.                                                            Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                   CEO
                                         Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          Rooftop Group USA, Inc.
                                         Employer’s name               __________________________________            __________________________________


                                         Employer’s address               75 Vine St
                                                                       _______________________________________     ________________________________________
                                                                        Number Street                               Number    Street
                                                                          Unit 805
                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________     ________________________________________

                                                                          Seattle, WA 98121
                                                                       _______________________________________     ________________________________________
                                                                        City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                           ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.      13,779.18
                                                                                                 $___________           $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________
                                                                                                          0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                           4.      13,779.18
                                                                                                 $__________            $____________




Official Form 106I                                                 Schedule I: Your Income                                                      page 1
           Case 19-32039-sgj7
             Darren Scott Matloff Doc 15 Filed 07/11/19                                                 Entered 07/11/19 00:03:15   Page 51 of 73
                                                                                                                              19-32039-7
Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.       13,779.18
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        4,871.56
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        4,871.56
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        8,907.62
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________
                                         Rooftop Group USA - draws                                               8h.    + $____________
                                                                                                                             5,000.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        5,000.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           13,907.62
                                                                                                                         $___________     +       $_____________      =     13,907.62
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                            13,907.62
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.                 Rooftop Group USA will be shutting down within the next sixty days.
      
      ✔    Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
             Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                      Entered 07/11/19 00:03:15                    Page 52 of 73

  Fill in this information to identify your case:

                     Darren Scott Matloff
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Northern District of Texas
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________     District of __________                       expenses as of the following date:
                                                                                      (State)
                       19-32039-7                                                                                 ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  1,500.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       55.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   100.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
              Case 19-32039-sgj7 Doc 15 Filed 07/11/19                            Entered 07/11/19 00:03:15              Page 53 of 73

                    Darren Scott Matloff                                                                             19-32039-7
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     300.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      50.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     300.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                   1,000.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     200.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                     100.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     500.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                   2,100.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                     500.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                       $_____________________
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     150.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                       $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
                 Contributions to other family
       Specify:_______________________________________________________                                           19.
                                                                                                                                     200.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
             Case 19-32039-sgj7 Doc 15 Filed 07/11/19                             Entered 07/11/19 00:03:15                 Page 54 of 73

                   Darren Scott Matloff                                                                                 19-32039-7
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Nathalie Naude
                                                                                                                                      1,500.00
                                                                                                                   21.   +$_____________________
Family in Philippines
______________________________________________________________________________________                                                  500.00
                                                                                                                         +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 9,055.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 9,055.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      13,907.62
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 9,055.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  4,852.62
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                               Entered 07/11/19 00:03:15                  Page 55 of 73
    Fill in this information to identify your case:


    Debtor 1           Darren Scott Matloff
                      __________________________________________________________________
                        First Name              Middle Name              Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name              Last Name


    United States Bankruptcy Court for the: Northern
                                            ______________________
                                                     District of Texas   District of __________

    Case number         19-32039-7
                        ___________________________________________
    (If known)

                                                                                                            Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
              this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.

Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    
     ✔ 
       No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                  
                  ✔ No. Go to line 3.

                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
     
     ✔      No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
          
          ✔      No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                    I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                           Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                  box 3, The Means Test does not apply now, and sign
                    I was called to active duty after September 11, 2001, for at least
                                                                                                  Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                  Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                  Official Form 22A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on active duty
                                                                                                  or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                  If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                  you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                   page 1
              Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                     Entered 07/11/19 00:03:15                   Page 56 of 73
 Fill in this information to identify your case:                                                            Check one box only as directed in this form and in
                                                                                                            Form 122A-1Supp:
 Debtor 1           Darren Scott Matloff
                   __________________________________________________________________
                     First Name               Middle Name                  Last Name
                                                                                                            
                                                                                                            ■   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                  Last Name                           2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
                                          __________
 United States Bankruptcy Court for the: Northern DistrictDistrict
                                                           of Texasof __________                                   Means Test Calculation (Official Form 122A–2).
 Case number         19-32039-7
                     ___________________________________________                                               3. The Means Test does not apply now because of
 (If known)                                                                                                        qualified military service but it could apply later.


                                                                                                             Check if this is an amended filing

Official Form 122A─1
Cha pt e r 7 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Pa rt 1 :       Ca lc ula t e Y our Curre nt M ont hly I nc om e

 1. What is your marital and filing status? Check one only.
      ✔ Not married. Fill out Column A, lines 2-11.
      
      Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                         $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                   $_________            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                                 $_________            $__________

 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
    Gross receipts (before all deductions)                                 $______         $______
      Ordinary and necessary operating expenses                        –   $______     –   $______
                                                                                                     Copy
      Net monthly income from a business, profession, or farm              $______         $______ here     $_________            $__________

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
    Gross receipts (before all deductions)                                 $______         $______
      Ordinary and necessary operating expenses                        –   $______     –   $______
                                                                                                     Copy
      Net monthly income from rental or other real property                $______         $______ here     $_________            $__________
 7. Interest, dividends, and royalties                                                                       $_________            $__________



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income
              Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                        Entered 07/11/19 00:03:15                             Page 57 of 73

Debtor 1           Darren   Scott Matloff
                   _______________________________________________________                                                   Case number (if known)19-32039-7
                                                                                                                                                   _____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

    8. Unemployment compensation                                                                                                  $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ............................... 
           For you .................................................................................. $______________
           For your spouse................................................................... $______________

    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                                     $__________                 $___________
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.

         ______________________________________                                                                                   $_________                  $___________
         ______________________________________                                                                                   $_________                  $___________
         Total amounts from separate pages, if any.                                                                            + $_________                + $___________
    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                        $_________
                                                                                                                                                       +      $___________
                                                                                                                                                                                  =   $__________
                                                                                                                                                                                      Total current
                                                                                                                                                                                      monthly income

    Pa rt 2 :     De t e rm ine Whe t he r t he M e a ns T e st Applie s t o Y ou

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here        $__________

                Multiply by 12 (the number of months in a year).                                                                                                                  x 12
       12b.     The result is your annual income for this part of the form.                                                                                                12b.   $__________

    13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ............................................................................................. 13.   $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?

       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.

    Pa rt 3 :      Sign Be low

                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                  /s/ Darren Scott Matloff
                        __________________________________________________________                                       ______________________________________
                       Signature of Debtor 1                                                                              Signature of Debtor 2

                            07/11/2019
                       Date _________________                                                                             Date _________________
                            MM / DD / YYYY                                                                                     MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯

Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income
            Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                   Entered 07/11/19 00:03:15              Page 58 of 73

 Fill in this information to identify your case:

 Debtor 1          Darren Scott Matloff
                   __________________________________________________________________
                      First Name             Middle Name               Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name               Last Name


 United States Bankruptcy Court for the: Northern
                                          ______________________
                                                  District of Texas District of ______________
                                                                             (State)
 Case number          ___________________________________________
                        19-32039-7
  (If known)                                                                                                                             Check if this is an
                                                                                                                                           amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                          4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     ✔     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                         Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                 lived there                                                                 lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

                Xiang Fu Li Apartment
               __________________________________________        From 01/2017
                                                                      ________            ___________________________________________           From ________
                Number      Street                                                        Number Street
                                                                 To      __________
                                                                         01/2019                                                                To      ________
               1881 BaoAn Rd
               __________________________________________                                 ___________________________________________

               Shenzhen CHINA
               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1

               900 Henderson Ave
               __________________________________________        From 01/2018
                                                                      ________            ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                 To      ________
                                                                         06/19                                                                  To      ________
               __________________________________________
               Apt. 2514                                                                  ___________________________________________

               Houston                  TX    77058
               __________________________________________                                 ___________________________________________
               City                       State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 1
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                          Entered 07/11/19 00:03:15                        Page 59 of 73

Debtor 1        Darren Scott Matloff
                _______________________________________________________                                                             19-32039-7
                                                                                                             Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              86,542.16                   bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              116,441.51                  bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2018                        Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              202,346.00                                          $________________
            (January 1 to December 31, _________)
                                       2017                     
                                                                ✔   Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     ✔     No
          Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________          _________________________           $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________           $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________           $_________________


                                         _________________________ $________________                           _________________________          $________________
For last calendar year:
                                         _________________________ $________________                           _________________________          $________________
(January 1 to
                                         _________________________ $_________________                          _________________________          $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________          $________________
before that:                             _________________________ $________________                           _________________________          $________________
(January 1 to                            _________________________ $_________________                          _________________________          $_________________
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                 Entered 07/11/19 00:03:15                   Page 60 of 73

Debtor 1       Darren Scott Matloff
               _______________________________________________________                                                    19-32039-7
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     ✔     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                   Entered 07/11/19 00:03:15                     Page 61 of 73

Debtor 1            Darren Scott Matloff
                   _______________________________________________________                            Case number (if known)19-32039-7
                                                                                                                            _____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                             Entered 07/11/19 00:03:15                        Page 62 of 73

Debtor 1          Darren   Scott Matloff
                  _______________________________________________________                                                               19-32039-7
                                                                                                                 Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                Triumphant Gold Limited v. Rooftop Enforcement of guarantee and
    Case title:                                    indemnity                                               Hight Court Singapore
                Group Pterosaur's Ltd, et al                                                              ________________________________________
                                                                                                          Court Name
                                                                                                                                                          
                                                                                                                                                          ✔   Pending

                                                                                                                                                             On appeal
                                                                                                          1 Supreme Court Lane
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded

                                                                                                           Singapore                178879
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number HC/S 252/2019
                ________________________
                   Triumphant Gold Ltd v. Darren                    Recognition of foreign judgment;
                   Matloff                                          Date filed: 12/19/2018                 United States District Court - Southern District ✔
                                                                                                          ________________________________________          of Texas
                                                                                                          Court Name
                                                                                                                                                              Pending
    Case title:
                                                                                                                                                             On appeal
                                                                                                          515 Rusk St
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded

                                                                                                           Houston           TX     77002
                                                                                                          ________________________________________
                          4:18-cv-04770                                                                   City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                        Entered 07/11/19 00:03:15                  Page 63 of 73

Debtor 1          Darren Scott Matloff
                  _______________________________________________________                                                       19-32039-7
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

          No
     
     ✔     Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts
                                                                Money transfers

            See Exhibit A
           ______________________________________                                                                              _________           $_____________
                                                                                                                                                    0.00
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
                                                                                                                                                    0.00

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                             Entered 07/11/19 00:03:15                      Page 64 of 73

Debtor 1            Darren Scott Matloff
                    _______________________________________________________                                                            19-32039-7
                                                                                                                Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________           $_____________

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                           Entered 07/11/19 00:03:15                     Page 65 of 73

Debtor 1           Darren Scott Matloff
                   _______________________________________________________                                                           19-32039-7
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
          No
     
     ✔     Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            Taylor Raymond
            ___________________________________                    Real Estate: 25334 Saddlebrook            $179,000
            Person Who Received Transfer
                                                                   Champion Way, Tomball, Texas,
            25334 Saddlebrook Champion Way,
            ___________________________________                    $179,000.00                                                                               _________
                                                                                                                                                             10/02/2017
            Number       Street

            ___________________________________

            Tomball             TX     77375
            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you none
                                         _____________
                                                                   Real Estate: 8905 Cub Trail, Raleigh, $260,000.00
            Robert W Anemone
            ___________________________________                    North Carolina, $260,000.00
            Person Who Received Transfer
                                                                                                                                                              _________
                                                                                                                                                              06/19/2018
            8905 Cub Trail
            ___________________________________
            Number       Street

            ___________________________________

            Raleigh             NC     27615
            ___________________________________
            City                        State    ZIP Code

                                          none
            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                 Entered 07/11/19 00:03:15                  Page 66 of 73

Debtor 1           Darren Scott Matloff
                   _______________________________________________________                                                              19-32039-7
                                                                                                                 Case number (if known)_____________________________________
                   First Name         Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

          No
     
     ✔     Yes. Fill in the details.

                                                                       Description and value of the property transferred                                       Date transfer
                                                                                                                                                               was made
                                                                     Ownership of Gandiva Investment Ltd., $0.00
                                The Matloff Family Trust                                                                                                      01/15/2015
                                                                                                                                                              _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                       Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                            instrument               closed, sold, moved,   closing or transfer
                                                                                                                                     or transferred
            ____________________________________
            Name of Financial Institution
                                                                           XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                             Savings
            ____________________________________                                                             Money market
            ____________________________________
                                                                                                             Brokerage
            City                           State    ZIP Code                                                 Other__________

            ____________________________________                           XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                             Savings
            ____________________________________
            Number       Street                                                                              Money market
            ____________________________________                                                             Brokerage
            ____________________________________                                                             Other__________
            City                           State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                           Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                                   have it?

                                                                                                                                                                      No
            ____________________________________                      _______________________________________
            Name of Financial Institution                             Name
                                                                                                                                                                      Yes

            ____________________________________                      _______________________________________
            Number       Street                                       Number      Street
            ____________________________________
                                                                      _______________________________________
                                                                      City          State      ZIP Code
            ____________________________________
            City                           State    ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
            Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                  Entered 07/11/19 00:03:15                       Page 67 of 73

Debtor 1            Darren Scott Matloff
                    _______________________________________________________                                                                     19-32039-7
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
          No
    
    ✔      Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?
                                                                                                                             Bicycle, snowboards, $500.00
             ___________________________________
             Keepers Self Storage                                    _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                  
                                                                                                                                                                           ✔ Yes

            ___________________________________
            157 First Street                                         _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
            Jersey City          NJ     07302
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                                     Entered 07/11/19 00:03:15                       Page 68 of 73

Debtor 1           Darren Scott Matloff
                   _______________________________________________________                                                                      19-32039-7
                                                                                                                         Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                                Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                           _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                    Court or agency                                      Nature of the case
                                                                                                                                                                           case

           Case title
                                                                    ________________________________                                                                          Pending
                                                                    Court Name
                                                                                                                                                                              On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                         Concluded


           Case number                                              ________________________________
                                                                    City                        State    ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           
           ✔    A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
           
           ✔    An officer, director, or managing executive of a corporation
           
           ✔    An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                 Employer Identification number
            Asian Express Holdings Ltd.
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                        Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                        From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                 Employer Identification number
            Propel RC Services Manilla Inc
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                        Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                        From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                      page 11
           Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                          Entered 07/11/19 00:03:15                     Page 69 of 73

Debtor 1           Darren Scott Matloff
                   _______________________________________________________                                                          19-32039-7
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Rooftop Sales HK Limited
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     ✔     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Darren Scott Matloff
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  07/11/2019                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
      
      ✔      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
            Case 19-32039-sgj7 Doc 15 Filed 07/11/19                   Entered 07/11/19 00:03:15                     Page 70 of 73
               Darren Scott Matloff                                                                           19-32039-7
 Debtor 1                                                         _                  Case number (if known)
              First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 107
27) Businesses

Business Name: Rooftop Services HK Limited



Describe the Nature of the business:

EIN:

Dates business existed: From:                To:

---

Business Name: Rooftop Group International Ltd



Describe the Nature of the business:

EIN:

Dates business existed: From:                To:

---

Business Name: Rooftop Services Group (US)



Describe the Nature of the business:

EIN:

Dates business existed: From:                To:

---

Business Name: Rooftop Holdings, LLC



Describe the Nature of the business:

EIN:

Dates business existed: From:                To:

---

Business Name: Eastern Design Group USA LLC

75 Vine Street Suite 805

Seattle, WA 98121

Describe the Nature of the business: Identity branding service

EIN: XX-XXXXXXX




  Official Form 107                         Statement of Financial Affairs for Individuals
            Case 19-32039-sgj7 Doc 15 Filed 07/11/19                   Entered 07/11/19 00:03:15                     Page 71 of 73
               Darren Scott Matloff                                                                           19-32039-7
 Debtor 1                                                         _                  Case number (if known)
              First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 107
Dates business existed: From: 05/30/2008 To: 12/31/2017

---

Business Name: Rooftop Group USA, Inc

75 Vine St. Unit 805

Seattle, WA 98121

Describe the Nature of the business: Distribution and resale of small drones
and related IP

EIN: XX-XXXXXXX

Dates business existed: From: 02/22/2008 To: Current

---

Business Name: Rooftop Group International Pte Ltd

5218 Spruce St

Bellaire, TX 77401

Describe the Nature of the business: Manufacture and sale of drones, and
related intellectual property

EIN:

Dates business existed: From: 01/01/2016 To: Current

---




  Official Form 107                         Statement of Financial Affairs for Individuals
   Case 19-32039-sgj7 Doc 15 Filed 07/11/19          Entered 07/11/19 00:03:15       Page 72 of 73



                                            Exhibit A

                                       Gifts over $600.00

Recipient            Amount        Date(s)          Relationship to Debtor
Taylor Biscamp       $ 15,836.00   Last two years   Girlfriend
Asa Mac              $ 2,231.00    Last two years   Friend
Dazare Lewis         $ 1,055.00    Last two years   Friend
Anna You             $ 1,400.00    Last two years   Friend
Anna Gabrielle Hernan$ 8,903.95    Last two years   None - support for education of a child
Nathalie Naude       $ 24,600.00   Last two years   Friend
               Case 19-32039-sgj7 Doc 15 Filed 07/11/19                                   Entered 07/11/19 00:03:15             Page 73 of 73

Fill in this information to identify your case:

Debtor 1           Darren Scott Matloff
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Texas District of __________
                                                                                (State)
Case number         19-32039-7
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Darren Scott Matloff
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              07/11/2019
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
